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 8                              FEDERAL DISTRICT COURT
 9
                           EASTERN DISTRICT OF CALIFORNIA
10

11
      UNITED STATES,                                 Case No. CR F 05-0221 AWI
12
              Plaintiff,                             COURT ORDER AUTHORIZING
13                                                   REMOVAL OF FEDERAL
      v.                                             INMATE JESUS PLANCARTE
14                                                   (T-229784) AND
      JESUS PLANCARTE, et al.                        AUTHORIZATION FOR
15                                                   DELIVERY OF PLANCARTE TO
      _______________________________                THE TULARE POLICE
16                                                   OFFICIALS
      In Re the Matter of the Appeal of
17    Paul H. Flores from Termination
      from the Tulare Police Department
18

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     TO THE FRESNO COUNTY JAIL:
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           Having considered the application for a court order requiring the removal of
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     federal inmate Jesus Plancarte (T-229784), currently in your custody, and considered
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     the reasons therefor, this court hereby grants the Tulare Police Department’s
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     application for the court order. It is hereby ordered that inmate Jesus Plancarte (T-
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     229784) be released to the custody of a duly authorized representative of the Tulare
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     Police Department during the early morning hours of October 9, 2006 so that his
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     testimony can be received as a material witness in a currently pending administrative
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     personnel board action involving former police officer Paul H. Flores of the Tulare
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     APPLICATION FOR A COURT ORDER COMMANDING THE REMOVAL OF STATE PRISON INMATE
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 1   Police Department. Following said transfer, federal inmate Plancarte shall be in the
 2   custody of the Tulare Police Department during the time period he is transported to the
 3   hearing room and his testimony is received in the pending matter. Following his
 4   testimony, duly authorized representatives of the Tulare Police Department are hereby
 5   ordered to transfer federal inmate Plancarte back to the Fresno County Jail no later
 6   than the evening hours of October 9, 2006. Upon the delivery of federal inmate
 7   Plancarte back to the Fresno County Jail the Fresno County Sheriff is authorized to
 8   return Plancarte under the terms of his original commitment.
 9         This order will be a continuing order such that if for some reason the personnel
10   action now pending against former officer Paul H. Flores is delayed or continued for
11   any reason and it is impossible to obtain Plancarte’s testimony on October 9, 2006,
12   this order will require the transfer and delivery of Plancarte to Tulare Police officials
13   on any subsequent hearing date set by the board.
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15   IT IS SO ORDERED.

16   Dated:   October 6, 2006                     /s/ Anthony W. Ishii
     0m8i78                                 UNITED STATES DISTRICT JUDGE
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     APPLICATION FOR A COURT ORDER COMMANDING THE REMOVAL OF STATE PRISON INMATE
